         Case 2:24-cv-00782-cr Document 56 Filed 09/24/24 Page 1 of 6




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF VERMONT


SCOTT TRAUDT,                                )
                   Plaintiff,                )
                                             )
                   v.                        )      Case No. 2:24-cv-782
                                             )
ARI RUBINSTEIN,                              )
GTS SECURITIES LLC,                          )
GTS EQUITY PARTNERS LLC,                     )
GTS EXECUTION SERVICES LLC,                  )
CHARLES W. SCHWAB AND CO. INC.,              )
SCHWAB HOLDINGS, INC.,                       )
FINANCIAL INDUSTRY REGULATORY                )
AUTHORITY,                                   )
               Defendants,                   )
                                             )
GARY GENSLER,                                )
US SECURITIES AND EXCHANGE                   )
COMMISSION,                                  )
               Respondent                    )
                                             )

   CHARLES SCHWAB & CO., INC. AND SCHWAB HOLDINGS, INC.’S
  OPPOSITION TO PLAINTIFF’S MOTION TO HOLD ALL MOTIONS TO
     DISMISS AND MOTIONS FOR ARBITRATION IN ABEYANCE

      Defendants Charles Schwab & Co., Inc. and Schwab Holdings, Inc.

(collectively, “Schwab”) respectfully oppose Plaintiff Scott Traudt’s motion docketed

as ECF No. 39 (“Traudt’s Motion”).

       Insofar as applicable to Schwab, Traudt’s Motion seeks to postpone

adjudication of Schwab’s Motion to Stay in Favor of Arbitration (ECF No. 8) (the

“Arbitration Motion”) until after the Court determines whether “Defendant Financial

Industry Regulatory Authority (“FINRA”) possesses immunity” and resolves Mr.

Traudt’s premature, miscellaneous motions for injunctive relief against FINRA.



                                         1
         Case 2:24-cv-00782-cr Document 56 Filed 09/24/24 Page 2 of 6




Traudt’s Motion at 1-2. The Motion does not provide any basis upon which this Court

could—let alone should—defer its decision on the Arbitration Motion.

      The Arbitration Motion was filed almost six weeks ago, on August 14, 2024.

Schwab agreed to two extensions for Mr. Traudt to respond to the Arbitration Motion.

Mr. Traudt’s eventual opposition (ECF No. 50) failed to forward any legally-

cognizable basis upon which the Court could decline to enforce his arbitration

agreements with Schwab—which include an agreement to arbitrate all disputes of

any sort, including any questions of arbitrability. Notably:

         •   Mr. Traudt does not raise any objection to the authenticity of the

             arbitration agreements attached to the Arbitration Motion, or to the

             accuracy of Schwab’s quotations from those agreements.

         •   Mr. Traudt does not deny that he executed the arbitration agreements

             attached to the Arbitration Motion.

         •   Mr. Traudt does not have any response to Schwab’s showing that the

             Federal Arbitration Act, 9 U.S.C, § 1 et seq. governs the disposition of

             the Arbitration Motion.

         •   Mr. Traudt’s arguments about his arbitration agreement are largely

             policy arguments that seem to presuppose that the Court has authority

             to decline to enforce arbitration agreements, which it does not. See 9

             U.S.C. § 3; Smith v. Spizzirri, 601 U.S. 472, 476 (2024) (“[T]he use of the

             word ‘shall’ creates an obligation impervious to judicial discretion.”)

             (internal quotation marks omitted).




                                           2
         Case 2:24-cv-00782-cr Document 56 Filed 09/24/24 Page 3 of 6




         •   To the extent Mr. Traudt makes any legal arguments concerning the

             arbitration agreements, those arguments are plainly incorrect.

                o Mr. Traudt argues by analogy to an old Eleventh Circuit case

                   about an arbitration agreement that covered only “disputes

                   arising out of or relating to” a contract. ECF No. 50 at 17 (citing

                   Telecom Italia, SpA v. Wholesale Telecom Corp., 248 F.3d 1109,

                   1114 (11th Cir. 2001). But Mr. Traudt’s arbitration agreements

                   with Schwab covers any dispute whatsoever, including any

                   dispute about the breadth of an arbitration clause.

                o Mr. Traudt asserts that a Vermont 1 statute and/or Vermont

                   equitable principles render his arbitration agreements partially

                   unenforceable. ECF No. 50 at 14-16. But the FAA preempts any

                   state law or principle that limits the enforceability of arbitration

                   agreements or that disfavors arbitration. See, e.g., Preston v.

                   Ferrer, 552 U.S. 346, 349 (2008).         Further, Mr. Traudt’s

                   unconscionability argument is premised on his impossible

                   contention that Schwab violated his constitutional rights. See

                   Dillard v. Sec. Pac. Corp., 85 F.3d 621 (5th Cir. 1996) (“Dillard

                   argues vociferously that the arbitration clause violates his

                   Seventh Amendment right to jury trial. This argument is

                   meritless. Private actors such as [a brokerage firm] . . . cannot



1 In addition, Vermont law does not apply to the relevant arbitration agreements.



                                          3
          Case 2:24-cv-00782-cr Document 56 Filed 09/24/24 Page 4 of 6




                    violate Dillard’s constitutional rights.”). 2

In short, Mr. Traudt lacks any colorable argument against the enforcement of his

arbitration agreements.

      Under the Federal Arbitration Act, when a Court is presented with the

circumstances typified here, the Court’s task is “‘to move the parties to an arbitrable

dispute out of court and into arbitration as quickly and easily as possible.’”

Spizzirri, 601 U.S. at 478 (quoting Moses H. Cone Memorial Hospital v. Mercury

Constr. Corp., 460 U.S. 1, 22 (1983)) (emphasis added). Invoking similar principles,

the Supreme Court has also explained that the pendency of a motion to compel

arbitration ought to stop litigation activities involving the parties subject to that

motion. See Coinbase, Inc. v. Bielski, 599 U.S. 736, 744 (2023) (explaining that even

when a district court denies a motion to compel arbitration, and the moving party

appeals, the district court must postpone the moving party’s discovery obligations

until after the appeal is resolved).

      Mr. Traudt’s Motion seeks to turn these principles on their head. He seeks to



2 To the extent Mr. Traudt attempts an argument that his theories or causes of

action are immune from arbitration agreements, that argument would fail for the
reasons set forth in the Arbitration Motion. See Rodriguez de Quijas v.
Shearson/American Exp. Inc., 490 U.S. 477, 485 (1989) (holding pre-dispute
agreement to arbitrate Securities Act of 1933 claims enforceable);
Shearson/American Exp., Inc. v. McMahon, 482 U.S. 220, 238 (1987) (holding pre-
dispute agreement to arbitrate RICO claims enforceable); Mitsubishi Motors Corp.
v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 636 (1985) (recognizing that claims
under the Sherman Antitrust Act are arbitrable); Olde Discount Corp. v. Tupman, 1
F.3d 202, 208 (3d Cir. 1993) (“[T]he arbitration of securities disputes now is not only
permitted, but favored, under federal law, according to the line of decisions
culminating in McMahon and Rodriguez de Quijas.”).



                                            4
         Case 2:24-cv-00782-cr Document 56 Filed 09/24/24 Page 5 of 6




hold Schwab in active litigation notwithstanding Schwab’s timely assertion of its

rights under the applicable arbitration agreements.      There is a reason Traudt’s

Motion fails to offer the Court even a single example of any case where a federal court

has allowed similar relief: that relief would be directly contrary to the Federal

Arbitration Act.

      Traudt’s Motion should be denied and Mr. Traudt’s claims against Schwab

should immediately be stayed in favor of arbitration.



       DATED at Burlington, Vermont, this 24th day of September 2024.


                              By:    /s/ Justin B. Barnard
                                     Justin B. Barnard, Esq.
                                     Anne B. Rosenblum, Esq.
                                     DINSE P.C.
                                     209 Battery Street
                                     Burlington, VT 05401
                                     802-864-5751
                                     jbarnard@dinse.com
                                     arosenblum@dinse.com

                                     Jeff Goldman, Esq. (admitted pro hac vice)
                                     Felipe Escobedo, Esq. (admitted pro hac vice)
                                     MORGAN, LEWIS & BOCKIUS LLP
                                     One Federal Street
                                     Boston, MA 02110
                                     Tel: (617) 341-7700
                                     jeff.goldman@morganlewis.com
                                     felipe.escobedo@morganlewis.com

                                     Counsel for Charles Schwab & Co., Inc. and
                                     Schwab Holdings, Inc.




                                          5
          Case 2:24-cv-00782-cr Document 56 Filed 09/24/24 Page 6 of 6




                           CERTIFICATE OF SERVICE

      I hereby certify that on September 24, 2024, the foregoing document is being

filed through the CM/ECF system and that a copy of the same will be sent electronically

to all registered participants. A paper copy of the foregoing document will also be sent

to the Plaintiff, at the address stated on his Complaint.



                                         /s/ Jeff Goldman
                                        Jeff Goldman, Esq. (admitted pro hac vice)
                                        MORGAN, LEWIS & BOCKIUS LLP
                                        One Federal Street
                                        Boston, MA 02110
                                        Tel: (617) 341-7700
                                        jeff.goldman@morganlewis.com

                                        Counsel for Charles Schwab & Co., Inc. and
                                        Schwab Holdings, Inc.




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